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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION



JOSEPH POPPELL, et al.                         *
                                               *
       Plaintiffs,                             *
                                               *
v.                                             *    Civil Action No. 2:19-cv-00064-LGW-BWC
                                               *
CARDINAL HEALTH, INC., et al.,                 *
                                               *
       Defendants.                             *



                   REPLY BRIEF TO PLAINTIFFS’ RESPONSE
                 TO DEFENDANTS’ EMERGENCY MOTION TO
            EXTEND DEADLINE TO ANSWER OR OTHERWISE RESPOND


       Defendants Cardinal Health, Inc., Cardinal Health 108, LLC, Cardinal Health 110, LLC,

Cardinal Health 112, LLC, Cardinal Health 113, LLC, Cardinal Health 116, LLC, Cardinal Health

200, LLC, Cardinal Health 414, LLC, McKesson Corporation, McKesson Drug Company, LLC,

McKesson Medical-Surgical, Inc., and McKesson Medical-Surgical Minnesota Supply, Inc.

(“Moving Defendants”) are requesting an extension of time to answer the Complaint or to move

in response to it, including filing a Rule 12(b) motion, until the later of thirty days after (1) this

Court’s ruling on any motion to remand, or (2) the entry of a decision by the JPML granting a

motion to vacate a conditional transfer order covering this action (or otherwise finally denying

transfer of this action to the MDL).

       Plaintiffs oppose the motion but agree to an extension until June 18, 2019. Plaintiffs’

opposition is based on the contention that this Court should remand the case to the Glynn County

Superior Court and that it should not be transferred to the MDL, but they make no argument as to
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why the parties should proceed with briefing on motions to dismiss before this Court at this time.

To the contrary, Plaintiffs’ insist that this Court lacks jurisdiction over this matter, and they do not

explain why they wish for this Court to receiving briefing on motions that they contend it does not

have jurisdiction to decide.

        Moving Defendants’ requested extension is expeditious and practical. Moving Defendants

intend to move to dismiss pursuant to Rule 12(b), but this Court has no need of the Moving

Defendants’ answer or motion in order to decide a motion to remand. With due respect to

Plaintiffs’ argument, it makes no sense to require Moving Defendants to submit their Rule 12(b)

motion or answer before the later of thirty days after this Court’s ruling on any motion to remand,

or the entry of a decision by the JPML granting a motion to vacate a conditional transfer order

covering this action (or otherwise finally denying transfer of this action to the MDL).

        It also bears mention that, in numerous other opioid-related cases removed to a federal

court in Georgia by the same or related national defendants on the same jurisdictional grounds,

district courts have granted the same or materially similar extensions of time when requested. See

Bolton v. Bynes, No. 4:18-cv-00136-RSB-JEG (S.D. Ga. June 13, 2018), ECF No. 12 (order

extending deadline to answer, object, plead, move, or otherwise respond to complaint until 45 days

after ruling on remand motion or decision by JPML regarding transfer to the MDL); County of

Fannin v. Rite Aid of Georgia, Inc., No. 2:18-cv-00220-RWS (N.D. Ga. Nov. 26, 2018), ECF

No. 5 (order extending deadline to answer, object, plead, move, or otherwise respond to complaint

until 45 days after ruling on remand motion); Henry County v. Purdue Pharma, LP, et al., No.

1:18-cv-03899-AT (N.D. Ga. Aug. 24, 2018), ECF No. 6 (order extending deadline to answer,

object, plead, move, or otherwise respond to complaint until 30 days after ruling on remand motion

or decision by JPML regarding transfer to the MDL); City of Atlanta v. Purdue Pharma L.P.,



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No. 1:18-cv-03508-SCJ (N.D. Ga. July 30, 2018), ECF No. 5 (order extending deadline to answer,

object, plead, move, or otherwise respond to complaint until 30 days after ruling on remand

motion); ApolloMD Business Services, LLC v. Attain Med, Inc., No. 1:18-cv-01662-SCJ (N.D. Ga.

Apr. 26, 2018), ECF No. 13 (order extending deadline to answer, object, plead, move, or otherwise

respond to complaint until 45 days after ruling on remand motion or decision by JPML regarding

transfer to the MDL); Fulton County v. Purdue Pharma L.P., No. 1:17-cv-04757-ELR (N.D. Ga.

Dec. 4 2017), ECF No. 7 (ordering that Distributor Defendants are not required to answer, move,

or otherwise respond to the complaint).

        Unless the Court grants the Defendants’ Emergency Motion before May 28, 2019,

Defendants respectfully request that the Court enter an order extending the time within which the

Moving Defendants may answer the Complaint or to move in response to it, including filing a Rule

12(b) motion until June 18, 2019.

        Respectfully submitted, this 23rd day of May, 2019.


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                              CERTIFICATE OF SERVICE


        I hereby certify that on this 23rd day of May, 2019, a copy of the foregoing REPLY

BRIEF TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ EMERGENCY MOTION TO

EXTEND DEADLINE TO ANSWER OR OTHERWISE RESPOND was electronically filed

with the Clerk of court using the court’s CM/ECF system which will automatically serve all

counsel of record.


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                                          Supply, Inc.




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